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                                                                                     APPENDIX G
                \'

     '     -·                    UNITED STATES DISTRICT COURT
'- . ~ J    ,'1                EASTERN DISTRICT OF PENNSYLVANIA
ANDREW
     .,. R. PERRONG




PENN FOSTER EDUCATION
                      v.                                                  CiVltAction ~ ~ 1~
                                                                          No: _ _ _ _ __
                                                                                             ®
GROUP, INC.

                                   DISCLOSURE STATEMENT FORM

Please check one box:

~                     The nongovernmental corporate party, Penn Foster Educational Group~ Inc.
                      , in the above listed civil action does not have any parent corporation and
                      publicly held corporation that owns 10% or more of its stock.

D                     The nongovernmental corporate p a r t y , - - - - - - - - - - - -
                      ' in the above listed civil action has the following parent corporation(s) and
                      publicly held corporation(s) that owns 10% or more of its stock:




 12/27/2017
            Date
                                                          &£~    Sigri'ature

                                    Counsel for:   Defendant
                                                   ~~~~~~~~~~~~~~~~~-




Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    WHO MusT FILE; CONTENTS. A nongovernmental corporate party must file
                      two copies of a pisclosure statement that:
                      (1)   identifiesiany parent corporation and any publicly held corporation
                            owning 10% or more of its stock; or

                      (2)    states thcat there is no such corporation.

                (b) TIME To FILE; SUPPkEMENTAL FILING. A party must:
                       (1)    file the dfaclosure statement with its first appearance, pleading,
                              petition, motion, response, or other request addressed to the court;
                              and
                       (2)    promptly::file a supplemental statement if any required information
                              changes.
